CaSE

LJJ[\)

K/`l

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

5:16-CV-01260-.]GB-SP Document 8 Filed 10/26/16 Page 1 of 3 Page |D #:25

Wayne T. Evans 3 §§ §
3262 N. Garey Ave. # 193 §§ g
Pomona, Ca 91767 _' §?;» -¢
909-344-6546 W§§ §
949-291_2461 §;;‘-§‘ -U
m"'“tcj 1
IN THE UNITED STATES DISTRICT COU:; §§ 53
FoR THE EASTERN DISTRICT OF CALIFO § IA "~:‘§ 3

RIVERSIDE DIVISION ‘
WAYNE T' EVANS CASE NO; 5;16_Cv_01260_ JGB-SP
Plaintiff, {<Assigned to the Honorable R. Gary

lausner]

REQUEST FOR DISMISSAL OF
CREDIT FIRST NATIONAL ENTIRE ACTION WITH PREJUDICE

ASSOCIATION and BRIDGESTONE
AMERICAS TIRE OPERATIONS,
LLC

ET...AL, DOES 1-200, inclusive

Defendants.

 

 

 

REQUEST FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case No: 5:16-cv-01260- JGB-SP

1

 

C|EJ"H_-i

 

 

 

Case 5:16-cV-01260-.]GB-SP Document 8 Filed 10/26/16 Page 2 of 3 Page |D #:26
l Plaintiff Wayne T, Evans and Defendant CREDIT FIRST NATIONAL
2 ASSOCIATION and BRIDGESTONE AMERICAS TIRE OPERATIONS, LLC
3 hereby stipulate and agree that the above- entitled action shall be dismissed in its
4 entirety With prejudice in accordance With Fed. R. Civ. P. 4l(a)(2). Each party
5 shall bear his and its own attorneys’ fees and costs.
6
7 IT lS SO STIPULATED.
8
9 Dated: October _, 2016 Darren M. Ballas, Esq.
10 LARSON. GARRICK &
LIGHTFOOT, LLP
ll
By:
12 Darren M. Ballas
13 Attorneys for Defendant
14 CREDIT FIRST NATIONAL
15 ASSOCIATION and BRIDGESTONE
16 AMERICAS TIRE OPERATIONS, LLC
l7
18
19
20 d
21 /7/
Dared; october 25, 2016. 13sz » %'/D
22 ' Wayne T. Evans
23
24
25
26
27
28
REQUEST FOR DISMISSAL OF ENTIRE ACTION WITH PREIUDICE
Case No: 5:l6-cv-()1260- JGB-SP
2

 

 

 

 

Case

.I>UJ

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

5:16-cV-01260-.]GB-SP Document 8 Filed 10/26/16 Page 3 of 3 Page |D #:27

CERTIFICATE OF SERVICE

l hereby certify that on October 25,2016 a copy of the foregoing
STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH
PREJUDICE Was filed in person by Plaintiff Wayne T. Evans and electronically
served on a Darren M. Ballas, Esq. Attorneys for Defendant.

114/mo

' Wayne T. Evans
Pro Se

REQUEST FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case No: 5:16-cv-01260- JGB-SP

3

 

 

